Case 1:18-cv-01987-KMT Document 51 Filed 12/02/19 USDC Colorado Page 1of3

IN THe United Srares Districr Courr
For THE Distaicr of CoroKAdoe

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Colorado Department Of Corrections

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